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 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-365 GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       [PROPOSED ORDER] CONTINUING
11
     v.                                             )       STATUS CONFERENCE
                                                    )
12
     JOSE AGUILAR-MADRIZ, et al.,                   )
                                                    )       Date: June 29, 2012
13
                                                    )       Time: 9:00 a.m.
           Defendants.                              )       Judge: Honorable Garland E. Burrell, Jr.
14
                                                    )
                                                    )
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                                                    )
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            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Daniel S. McConkie, Jr., Assistant United States Attorney, together with counsel for

19
     defendant Jose Aguilar-Madriz, Preciliano Martinez, Esq., counsel for defendant Ronald Reeves,

20
     John R. Manning, Esq., counsel for defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for

21
     defendant Juan Silva, Carl E. Larson, Esq., counsel for defendant Salvador Silva, J Toney, Esq.,

22
     counsel for defendant David Martinelli, Michael B. Bigelow, Esq., counsel for defendant

23
     Gregorio Zapien-Mendoza, Scott N. Cameron, Esq., counsel for defendant Gabino Cuevas-

24
     Hernandez, Hayes H. Gable, III, Esq., counsel for defendant Moses Puledo Aguilar, Clemente

25
     M. Jimenez, Esq., counsel for defendant German Alvarez Ortega, Preeti K. Bajwa, Esq., counsel

26
     for defendant Adam Gutierrez Cruz, Erin J. Radekin, Esq., counsel for defendant Manuel Madriz

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     Sanchez, Kyle R. Knapp, Esq., and counsel for defendant Pedro Aguilar Aguilar, Olaf W.

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     Hedberg, Esq., that the status conference presently set for April 27, 2012 be continued to June



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 1   29, 2012, at 9:00 a.m., thus vacating the presently set status conference. Defendant Sarah
 2   Marshall wishes to remain on calendar for a change of plea.
 3          Further, all of the parties, the United States of America and all of the defendants as stated
 4   above, hereby agree and stipulate that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendants in a speedy trial and that
 6   time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code
 7   Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to
 8   prepare) from the date of the parties stipulation, April 25, 2012, to and including June 29, 2012.
 9   The requested continuance is to allow the defense more time to review the discovery and conduct
10   investigation.
11   IT IS SO STIPULATED.
12
     Dated: April 23, 2012                                          /s/ Perciliano Martinez
13                                                                 PERCILIANO MARTINEZ
                                                                   Attorney for Defendant
14                                                                 Jose Aguilar-Madriz
15
     Dated: April 23, 2012                                          /s/ John R. Manning
16                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
17                                                                 Ronald Reeves
18
     Dated: April 23, 2012                                         /s/ Dan F. Koukol
19                                                                 DAN F. KOUKOL
                                                                   Attorney for Defendant
20                                                                 Artemio Aguilar
21
     Dated: April 24, 2012                                          /s/ Carl E. Larson
22                                                                 CARL E. LARSON
                                                                   Attorney for Defendant
23
                                                                   Juan Silva
24
     Dated: April 23, 2012                                          /s/ J Toney
25                                                                 J TONEY
                                                                   Attorney for Defendant
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                                                                   Salvador Silva
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     Dated: April 23, 2012                           /s/ Michael B. Bigelow
 1
                                                     MICHAEL B. BIGELOW
 2                                                   Attorney for Defendant
                                                     David Martinelli
 3
     Dated: April 23, 2012                           /s/ Scott N. Cameron
 4
                                                     SCOTT N. CAMERON
 5                                                   Attorney for Defendant
                                                     Gregorio Zapien-Mendoza
 6

 7
     Dated: April 23, 2012                           /s/ Hayes H. Gable
                                                     HAYES H. GABLE, III
 8                                                   Attorney for Defendant
                                                     Gabino Cuevas-Hernandez
 9

10
     Dated: April 23, 2012                           /s/ Clemente M. Jimenez
                                                     CLEMENTE M. JIMENEZ
11                                                   Attorney for Defendant
                                                     Moses Puledo Aguilar
12

13   Dated: April 23, 2012                           /s/ Preeti K. Bajwa
                                                     PREETI K. BAJWA
14                                                   Attorney for Defendant
                                                     German Alvarez Ortega
15

16   Dated: April 23, 2012                           /s/ Erin J. Radekin
                                                     ERIN J. RADEKIN
17                                                   Attorney for Defendant
                                                     Adan Guitierrez Cruz
18

19   Dated: April 23, 2012                           /s/ Kyle R. Knapp
                                                     KYLE R. KNAPP
20                                                   Attorney for Defendant
                                                     Manuel Madriz Sanchez
21

22   Dated: April 24, 2012                           /s/ Olaf W. Hedberg
                                                     OLAF W. HEDBERG
23                                                   Attorney for Defendant
                                                     Pedro Aguilar Aguilar
24

25   Dated: April 25, 2012                           Benjamin B. Wagner
                                                     United States Attorney
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27
                                               by:   /s/ Daniel D. McConkie, Jr.
                                                     DANIEL S. MCCONKIE, JR.
28                                                   Assistant U.S. Attorney


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 1                                                               ORDER
 2                         The Court, having received, read, and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
 4   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
 5   it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
 6   the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
 7   failure to grant a continuance in this case would deny defense counsel to this stipulation
 8   reasonable time necessary for effective preparation, taking into account the exercise of due
 9   diligence. The Court finds that the ends of justice to be served by granting the requested
10   continuance outweigh the best interests of the public and the defendants in a speedy trial.
11                         The Court orders that the time from the date of the parties' stipulation, April 25, 2012, to
12   and including June 29, 2012, shall be excluded from computation of time within which the trial
13   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
14   3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
15   prepare). It is further ordered that the April 27, 2012, status conference shall be continued until
16   June 29, 2012, at 9:00 a.m.
17
     IT IS SO ORDERED.
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     Date: 4/26/2012
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                                                                          _________________________
20                                                                        GARLAND E. BURRELL, JR.
21   DEAC_Signature-END:
                                                                          United States District Judge

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